      Appellate Case: 23-1135    Document: 77    Date Filed: 11/02/2023    Page: 1



                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE TENTH CIRCUIT



 DARLENE GRIFFITH,

         Plaintiff-Appellant,

 v.                                                       No. 23-1135

 EL PASO COUNTY, COLORADO,
 et al.,

         Defendants-Appellees.



             UNOPPOSED MOTION FOR EXTENSION OF TIME FOR
               PLAINTIFF-APPELLANT TO FILE REPLY BRIEF

        Plaintiff-Appellant Darlene Griffith, by and through her attorney, Devi M.

Rao, respectfully requests a 21-day extension of time, up to and including December

18, 2023, to file her Reply Brief. In support of this motion, Plaintiff-Appellant states

as follows:

        1.     This is an appeal from the U.S. District Court for the District of

Colorado, No. 1:21-cv-00387.

        2.     Appellant filed her opening brief on August 21, 2023.

        3.     After seeking and receiving a 30-day extension, Defendants-Appellees

filed their brief and a supplemental appendix on October 20, 2023.
    Appellate Case: 23-1135     Document: 77     Date Filed: 11/02/2023   Page: 2



      4.      On October 23, Plaintiff-Appellant received a 14-day extension on the

Clerk’s authority, placing the reply brief deadline on November 27, 2023.

      5.      A second, 21-day, extension is necessary due to the complexity of the

issues raised and because undersigned counsel has numerous competing

responsibilities in the relevant time period around the current and proposed

deadlines. These include:

            A response brief in the U.S. Court of Appeals for the Second Circuit in
             Ballard v. Dutton, No. 23-6416, due November 2, 2023;

            An opening brief in the U.S. Supreme Court in McIntosh v. United
             States, No. 22-7386, due November 27, 2023;

            An amicus brief in the U.S. Court of Appeals for the Eighth Circuit in
             HRDC v. Baxter County, No. 23-1888, due November 29, 2023;

            A brief in opposition to certiorari in the U.S. Supreme Court in
             Ferreyra v. Hicks, No. 23-324, due December 4, 2023;

            An amicus brief in the U.S. Supreme Court in Gonzalez v. Trevino, No.
             22-1025, due December 4, 2023;

            Oral argument in the U.S. Court of Appeals for the Ninth Circuit in
             Harbridge v. Reed, No. 22-55861, on December 7, 2023;

            A reply brief in the U.S. Court of Appeals for the Third Circuit in Fisher
             v. Hollingsworth, No. 22-2846, due December 21, 2023; and

            Ongoing settlement negotiations in the Sixth Circuit’s mediation
             program in Fisher v. BOP No. 22-3754.




                                           2
    Appellate Case: 23-1135    Document: 77     Date Filed: 11/02/2023    Page: 3



      6.     The undersigned also experienced a death in the family, which required

cross-country travel, and is traveling for the Thanksgiving holiday, and off work

November 22 through 24.

      7.     Appellant does not bring this motion for purposes of delay and is

working in good faith and as diligently as possible to complete this matter.

      8.     Counsel for Defendants-Appellees has stated they are not opposed to

the requested extension.

WHEREFORE, Appellant respectfully requests a 21-day extension of time, up to

and including December 18, 2023, to file her reply brief.


Dated: November 2, 2023                Respectfully submitted,


                                       /s/ Devi M. Rao
                                       Devi M. Rao
                                       Roderick & Solange
                                        MacArthur Justice Center
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                                       Washington, DC 20002
                                       (202) 869-3434
                                       devi.rao@macarthurjustice.org

                                       Attorney for Plaintiff-Appellant




                                         3
    Appellate Case: 23-1135   Document: 77    Date Filed: 11/02/2023   Page: 4



                        CERTIFICATE OF COMPLIANCE

      I certify that:

      This motion complies with the type-volume limitation of Fed. R. App. P.

27(d)(2)(A) because it contains 399 words, excluding the parts of the motion

exempted by Fed. R. App. P. 27(a)(2)(B).

      This motion complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because it has

been prepared in a proportionately spaced typeface using Microsoft Word 2019 and

Times New Roman 14-point font.

                                      /s/ Devi M. Rao
                                      Devi M. Rao
    Appellate Case: 23-1135    Document: 77    Date Filed: 11/02/2023    Page: 5



                         CERTIFICATE OF SERVICE

      I hereby certify that on November 2, 2023, I electronically filed the foregoing

with the Clerk of the Court for the United States Court of Appeals for the Tenth

Circuit by using the CM/ECF system. I certify that all participants in the case are

registered CM/ECF users and that service will be accomplished by the CM/ECF

system.


                                      /s/ Devi M. Rao
                                      Devi M. Rao
